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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

UNITED STATES,                                :
                                              :
      Plaintiff,                              :
                                              :      Case Nos. 19cr-20, 20cv3703
      v.                                      :
                                              :      JUDGE SARAH D.
                                              :      MORRISON
                                              :      Magistrate Judge Elizabeth
                                              :      P. Deavers
KEVEANTE SMOOT,                               :
                                              :
      Defendant.                              :


                                      ORDER
      This matter is before the Court upon consideration of a Report and

Recommendation (R&R) issued by the Magistrate Judge on August 10, 2021. (ECF

No. 154). In that filing, the Magistrate Judge recommended that Plaintiff’s Motion

to Dismiss be dismissed and that the Motion for Certificate of Appealability (ECF

No. 152-1) be denied. The time for filing objections has passed, and no objections

have been filed. For the reasons set forth in the R&R, the Court hereby ADOPTS

the R&R (ECF No. 154), DISMISSES Plaintiff’s Motion to Dismiss (ECF No. 152),

and DENIES Plaintiff’s Motion for Certificate of Appealability (ECF No. 152-1).

This case is terminated.

      IT IS SO ORDERED.

                                       /s/ Sarah D. Morrison
                                       SARAH D. MORRISON
                                       UNITED STATES DISTRICT JUDGE
